 Case 2:16-cr-00006-PLM            ECF No. 97, PageID.248        Filed 08/22/16     Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                     Case No. 2:16-cr-06-03
v.
                                                     HONORABLE PAUL L. MALONEY
ROBERT HARLEY STAPLETON,

                  Defendant.
_______________________________/

               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by United States

Magistrate Judge Timothy P. Greeley in this action (ECF No. 79). The Report and

Recommendation was duly served on the parties, and no objection has been made thereto within

the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge is approved and

adopted as the opinion of the Court.

       2.      Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Count One of the Superseding Inditment.

       3.      The written plea agreement is hereby continued under advisement pending

sentencing.


Date: August 22, 2016                                 /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     United States District Judge
